            Case 2:07-cr-00059-TLN Document 122 Filed 09/24/08 Page 1 of 2


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 6
                      IN THE UNITED STATES DISTRICT COURT
 7
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,     )
10                                 )         CR. No. S-07-059-LKK
                    Plaintiff,     )
11                                 )
               v.                  )
12                                 )         TIME EXCLUSION ORDER
     VAN HUNG VI, VAN HY VI and    )
13   IVY JUNG TRAN,                )
                                   )
14                  Defendants.    )
     ______________________________)
15
16         Upon the request of the government and the defendants, the
17   Court continues the next status conference date from September 3,
18   2008 to October 15, 2008 at 9:15 a.m.        According to counsel, the
19   defendants have received plea offers from the government and need
20   additional time to consider developments in the case and            discuss
21   possible dispositions in this case.        The   continuance is
22   necessary for counsel adequately to review the plea offers and
23   conduct further investigation        Thus, the requested continuance
24   is for effective and diligent preparation in this case.
25   ///
26   ///
27   ///
28   ///
           Case 2:07-cr-00059-TLN Document 122 Filed 09/24/08 Page 2 of 2


 1        The Court finds that the interests of justice served by
 2   granting this continuance outweigh the best interests of the
 3   public and the defendant in a speedy trial.        18 U.S.C. § 3161
 4   (h)(8)(B)(iv) (local code T-4) and time, therefore, will be
 5   excluded from September 3, 2008 through October 15, 2008.
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     DATE: September 23, 2008
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